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TTY Forum

Seeking Solutions to TTY/TDD Through Wireless.

Digital Systems

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[TDD FORUM - 10

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hw EAP SE a a

(January 26, 1999)

January 26-27, 1998
Gallaudet University

Washington, DC

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__.._____3, REVIEW & APPROVE AGENDA ...—s—“—C—S FT TOC™—O

Agenda accepted as presented Agenda approved

————_ffeeting summary fort ¥ Ferum=9 approved:

Br TTY LIAISON REPORTS: FCC; CTIA/PCIA.sStsCS

FCC representative, Marty Liebman, stated that the FCC has received over 100

—-— requests for waivers andis-reviewing them and does -not know when responses

Forum was introduced and stated that he looks forward to working with the

group. a ae

= ABT Dt did mot nave reports at this time:

CTIA, Andrea Williams, presented the CTIA summary of the FCC TTY waiver.
Fhe-order- provided carriers with procedures for presenting their requests for ———__——__—__

waivers. The order is silent with respect to confidential treatment but CTIA’s

understanding trom Elizabetn Lisie is that the FCC rules regarding business
—_—_-______confidentiality-will-be in foree—Fhe-FCG-concluded-thatadditionaltime is

necessary to thoroughly review the petitions and that waivers granted may be

extended subject to conditions tne FCC betieves are appropriate. Erratum

issued si lbseqi rently to correct_and prod ice_a_list-of all carriers undera

temporary waiver. Marty Liebman, FCC, clarified that all judgements on final

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WaIVOio dil OTT TOM oni UR PeCUuOis aro Tony Tovie wed:

Additionally the technical description of the 2.5 mm jack was submitted to the

chair of TR45 and was rernianded by the chair to various sub-committees for their

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Analog Testing
ww a

Steve Mead, Lober & Walsh, presented the results of the development testing for”

with Motorola, CTIA, and Norm Williams, Gallaudet- participating: The post-test—-

oversight is that the intelli-modem was doing line wrap that was not considered

ana this slightly over-stated the error of the intéelli-modem.” This established the

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all handset manufacturers to replicate testing Contact Laura Ruby. for

scheduling.

TDMA Testing

steve Coston, Ericsson, presented contribution #8, the preliminary results of the

++ T¥ compatibility measurements._the measurements-will compare-what

measurements showed in November with results available today. Current testing

is done with a modified acoustic coupling using a controlled tab environment:

The phone _is_not: moved while sending_or receiving communications and is set

optimally. This maintains signal strength etc. Ericsson used the Lober & Walsh
ipt- Note: DAMPS- willbe referred to-as TDMA for rest of presentation-———_—_——_

Question from Norm Williams, Is this a quiet environment? For example, printing

“on the TTY would introduce noise. Answer Printing wouldn't be part of these
—--—---_-___fes-Landthe-enviroamentwould be-quiet AMPS showed Jowerthan1% error

rate on all except low power downlink which was between 2.9 and 5.18.

TDMA-showed higher than-1% error rate on both uplink and downlink at high

power. Ericsson was unable to establish a call at low power.

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GSM tests showed under.1% error rates at medium_power both quietlaband te

commercial network with moderate bumblebee. When testing included low
pewer testing er-commercial network with moderate bumblebee-t_handoff-and

0%-4% BER, the percent error increased to between 3%-9% error.

ons-drawn-by-Ericsson include-the-observation that direct connection

provides only moderate improvement in the Lab environment. Analog and GSM

performed well under Lab-conditions. Under simulated conditions, minimal

Variables introduced impacted CER by an increase of 10x. TCER AND PCER

vs. power level do not appear to be the most useful metrics for comparing system

et ae
PClIOTMrcahtCc,

Questions: ~~

Ar,
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my

tests will be ongoing at Ericsson to determine that.

What is the impact of crivirig noise etc on the acoustic coupler? Answer: Testing

will be anaoing- and_will be shared in the filture
WALD AGO JAWAD AareqciAine-tuture.

tat

‘CDMA Testing: ~~ ne ene ere

Kevin Klinesmith, Primeco, worked with UltraTEC_in Madison, Wisc__Results are

comparable to results seen previously. Primeco is working with 3COM to get

48-modems-fortesting. - RE a ig

Ted Holdahl, Sprint PCS, discussed contirbution #6, test results from Sprint PCS.

resting began with UltralEC equipment which was modified to break Gut audio

---and-a-Samsung-handset-and-a-Nokia handset—A Sprint and-Nokiatechnician..

were working on the project. Sprint used a 5 cell test network with drive testing.

Altresutts were simitar to the Cab results which were unacceptable: The

UitraTEC_terminalcould handle 4 30.db range without degradation_of a

performance. Closed Loop Power Control with CDMA is a function of the system

bet obey,

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VTTTOrT negotiates a PvOndainie Ciro rate WTOTT trat states Woda O /UrlabaOler Crit

fate rendering. this error unacceptable. These tests validate that CDMA using the .

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vocoder process will yield.a_character error rate-above 10%... The.CDG.view. that... —_

the short term solution will be unfruitful for CDMA is therefore proven.

Lucent whicn develops the vocoders Used inthe networks, presented an

—__——alternative solution._Steven-focused on CDMA because_of the -concern-that

up with a new vocoder was not cost effective. The solution needed to be non-

invasive to the vocoder to avoid impacting existing eq tipment The solution

would support VCO/HCO and be available in the near term. Challenges unique

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like it was noise

to full rate and turn off noise suppression, modify decoder beyond what is

“allowed by standards and the FER 2% would yield’ CER of 2.5%. This solution is

—_______ attractive because itis-a decoder only solution and be able ta receive unmodified sis

signals. Lucent attempted to improve and arrived at the “No Gain Solution”

~-which brings the CER down to-0%: The°solution is interoperable, supports

VCO/HCO but requires modifications to the encoder and decoder

The No-Gain Solution-applies to TDMA;-GDMA, GSM, iDEN. The-concept

relates to turning down the adaptive code book because it is designed for speech

and hinders 11 Y recognition. EVRC was used as a test because tf uses only /

-bits-vs.20+-for-others._Since baudotis so-slow ittakes-eight frames in-the-

vocoder, the process changes the code to send each character eight times and

corrects Tfitis missing any letter _Itts a completely passive system because both

-phone.and_network recognize.the. TTY tones...Any modified-packet.that goes.to.

an unmodified decoder would hear the TTY tones. It is just a software upgrade

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_ Questions: ie wit sys

Will it require a lot of effort to upgrade every base station and is that required?

——___--____—_Willthere-be-a-charge-for this-software?-_Answer-We have no-problem-providiag——

the software for evaluation, but | know that Lucent has a patent and | do not

know what financiat provisions will be made.

Is there an increase in software requirements? For example, will the handset run

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Qualcomm. Answer: If the handset is 99% full there is a possible problem

Nikolai Leung, speaking for Qualcomm, stated that itis a concern and may

: ~Willthis work in the field?” Answer” 1 feel more comfortable about taking this out”

ofthe-lab because itis more-robust than the repeater-solutions._Lucent willtest

from June to end of 1999 for CDMA and possibly more technologies.

Will this impact regular users? Answer: Providing there are enough MIPs to not

impact then there will be no impact.

Did you research MIP requirement or is this minimal? Answer: It is very minimal

In MIP requirements.

On the classifier, would you be standardizing? Answer Yes, we work through

———_____—_“standards for attechniotogies if there ts interest:

Software controllable DSPs? Only Nokia and Motorola have that. Answer:

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Clo TOU THTIQUUTAD Sayo TOW Dione s COCO TTOU RS TrOUunreg,

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It is important to have the consumer involved...Answer: agree and.will make. the

C éodé available. Just sénd me an e-mail. | would like to gather the cards of

vvnat TTY device did you use? The NXT, a TTY card inserted into a computer.

_To clarify the 0% CER — do you mean that it is really the same as analog (under

1%)? Answer. No actually this solution provides actual 0% because you have 8

chances-_to-correct transmission.

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code. Note from chair — Turbo-code is a proprietary form of baudot Turbo-code

is virtually the same except that the handshake is different and the speed is

CR faster—_Ron Schutz will work with Steveto-give-him-informatien-eAa—turbe

code.

Conclusion. This appears to he a assive soa
AGISIOA:—_ Als appearsio bea Hy a

ao US | 1).
BEES SSS ted ro

wireless phone will operate like a wireline phone.

The_saphistication_of the CDMA phones is profound, there are_over a_million lines

of code in the phones. The solution proposed by Lucent is elegant but it is not

~~~ trivial. The- belief that this solution would be available to the public intess-than-a

year is very optimistic.

optimal for all manufacturers to agree on the way the solution is implemented in

each phone.

This solution has additional features like support for HCO/VCO that are not

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solutions? Discussion: There are still some questions and implementation

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issues such.as_phones that do not have.programmable chips,.so.we should. _ Ce

continue to pursue solutions that are possibly viable. We can’t limit features so

we-wantte-make-surethatwe car-provide ting -and-altthe features -available-en

wired phones. We are attempting to provide consumers with a number of

cnoices not either/or solutions. VWnen will we possibly sée this solution

this product delivery at the end of the year. Primeco is very thankful to Lucent for

ar alternative because we were not planning to put data ir our network so we

hac_not seen a solution we had planned to fund.

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network? The Forum has taken the stand that the analog air interface is the

default.

The feasibility of switching between a vocoder and IWF is stil] problematical. But

7 we cannot dismiss one solution over another because we assume that it cannot

be done
aone,

Dale Hatfield; FCC, stated that he is very encouraged to hear about the hopeful

innovation that have been presented today and feels that we can_all think about

the new solution and check for issues that may come up. However, the news

= = today is very encouraging and will -be reported-to the Ghairman.

In reviewing the Appendix F document, add Steve Coston, Ericsson, to TDMA

a -and-GSM-and-Dr-Steve Besso,-Lucent,-is added-tothe-CDMA-ist, and -Laura.

Ruby, AT&T wireless is added to TDMA list.

iDEN,Motorola, presented the testing resultsfrom-_both the lab environment.and.

field testing. Connected a Motorola iDEN phone via a 2.5 mm custom cable and

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TOoleu OPiTIn anil QOW TIA tO a WIODTRY TTY. Chor rate rocn Tor mopre tO Tang

_ transmission was from under 1% to over 5%. Land to mobile PCER rates were

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_upwa rds of 8% to almost 16%... Field and Lab testi ng_made less i mpacton PCER

than uplink or downlink transmission. The discrepancy in the comparison figurés

9. REVIEW/UPDATE APPENDIX D Test Completion Matrix

Held for next meeting

11. DISCUSS / AGREE TO. AN ACCEPTABLE CER

Judy Harkins will provide a contribution from the consumers at the next TTY ae

Forum to establish the acceptablé CER as a target.

a { 9 R E\ NE Vv / AP P E} ID IX G _ T pical O ti Cha ‘acterist : f T "TY -

Devices

Ron Schultz discussed contribution #7, Appendix G, identifying that the
documentis meant to bea summary to provide typicat characteristics. This

document is a living document and.will be updated and modified as information

becomes available. This document will be attached to the TTY Forum report to

———he-F-EC-—On page 35-delete the word“typica’fronr-second-column-heading and

a change of the table name to “Sensitivity” rather than “Receive Leveis.”

—_43. FORMAT-FOR FGC-FINAL-TEST-REPORT———
—_IYBefore the completien-oftesting,ensure that field trials-with-consumers have...

been held. Standardize terms and ensure that dissimilar units are mixed so that

allurits are tested under alt circumstances” Ever at trie err of the formal

relationship_of the TTY Forum,a-relationship-should- continue in orderto-share

information and progress

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ATTENDANCE — —
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———————--Baquis, David —_-SHHH 301-657-2248 —__| 301-913-9413 | Dbaquis@shhh-org
-————- | Benno; Steve} -Lucent-—- 973-739-4210 ~~ Z ) Benno@lucent-co

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tawlon, doe Lucent 630-979-0133 drawton@tucent-co
Lee-Peter Arneriphone,ine—|744-897-0808——_| 744-897-4703 Peterl@ameriphon—
|_ eB com
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Seeking Solutions to. TTY/TDD Through Wireless —.

Digital Systems

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~ ~~ (May18, 1999) ~

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May T8, 1999

_Gallaudet University —

Washington, DC

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5. TTY LIAISON REPORTS: FCC, CTIA/PCIA
Andrea Williams, CTIA, reported that the FCC would not be taking action on the

recent waivers because of the progress-atthe TTY Forum--Severai-solutions that— —-—-

have recently been presented are looking very promising and the FCC want to

‘Marty Liebman, FCC, stated that Andrea Williams reported the FCC progress
accurately and that the FCC ts looking forward to hearing the progress of testing. —

Karen Strauss, NAD, shared information on the Section 508 rulings and said the
informations avaiable on the web and by contacting her at NAD——

rhe WF SRD has been remanded to subtask groups within TR45 ands being

worked 2. 5mm jack SRD was submitted March 31999 to TR45.The

Consumer Requirements document was submitted in December to TR45.

6 REVIEW. CORRESPONDENCE

Discussion on contribution #4 the Memo.sent from inteetenaice of the TTY.

Forum asked about the responses fo the letter generated by Dick Brandt on
behalf-of the FFY¥ Forum, the only response received to-date is from 3¢0OM.———---
ee ____ Dick Brandt committed to attempting to get more responses from_other

manufacturers.

Contribution #7 from Sendele Wireless, informing the Forum that they have a

CDMA product. The letter states that the testing is being done in analog: The

T-Y-Forum-will communicate with Steve Sendele to-seeif-this productis-a

possible digital solution.

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f, VOICE BASED SOLUTIONS (Formerly “short term”)

Contribution #17 presents AT &T test resuits MOVING © ine proauct trom a static lab

gq ra ch
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introduction of movement, fading, etc. The tests show that the analog testing

errorrates are virtually ZEID ina tab environment. “Analog error rates in the

aynamic environment are no longer zero. The CDMA phone prod uced low error

rates in a static environment. The results show that for analog phone

Ale or 4. i+

4 Os I AD0f
transmissions thatt he GER is Ci der r/o. TO! digital he STrolr rates from t= TZ /0

the Sxisting ACELP vocoder does not meet consumer réquirements for less than

Ameriphone (Contribution #12) has conducted static tests on 2.5 mm jack Tor

CDMA-and TDMA-and included HCGO/VCO-co

Cts

sideration.

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ORS

for all phones tested in analog mode. 7-10% GER was recorded for CDMA, 0-

a0

fi TR A--2) At YP ON HI

3% for TOMA phones.-Tests were done using 45.45 BAUD protocolt- VCOfHCO

tests required using the relay so the unknown_of what was transmitted from the

operators typing made calculating error rate from the relay difficult

Lucent Technologies, Contribution #13, presented a progress report on the audio

n solution, called the No-Gain solution in the TTY Forum. By tu

By turning the filter down to zero when TTY is detected it is possible to send the

TTY bits sever times and use that as a forny of correction: “tnitial tests show:

Virtually zero CER using this method. Testing has been done.on CDMA and

TDMA and Lucent’s tests have provided areas for improvement to add

“robustness: The-solution is fully interoperable and-provides for VCO/HEO

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___usability. The 13K vocoder. provides acceptable. CER « on_unmodified and. - CS
interoperable phones and zero CER on modified phone. TIA/EIA 136-410

rates of travel on unmodified and interoperable systems, and vir tually zero for

modified solutions. The schedule for standards work on this product is ambitious
pce ke ne provide-a_preduct to the market..-The

standards process is important to provide the ‘interoperability required to develop

ra RA

a widespread solution. Solution for CDMA Ts under devetopment TDMA TS

awaiting standards commitment before development is beg in_ Real time

simulations will occur in June. Resources are being secured outside the

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Poeddi Ur yrOup lO dOCclerale tan lesuliQ. AI ests PCoUnts Preoerleu ale

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is-possible thatthe-werk on FDMA-and CBMA-may-perHie the GSM veceders.

~~ Lucent provided a computer simulation of the no-gain solution.

Nokia presented their demonstration and discussed their contribution #14 test

results Nokia is committed to providing extensive tests to ensure that the

solution_is backward compatible ubiquitous and international_There are

similarities between the Nokia and Lucent proposals. A significant difference is

—- bypassing the -veceder-to-use the TTY decoder. -On receipt of the TTY signal the

TTY encoder is used. This solution demands a delay of around 4 frames for the

TTY/TDD transmission. The délay will vary, based on the system. HCO/VCO 1s

— soe -supported: -The-change-tothe-enceder adds-a-position value to the TTY -

information. The transmission consists of 2 bits which specify what type of signal

is present after the specified position. The decoder contains ar error correction

_._ algorithm-and TTY.signal_generator.. The Nokia proposal for TDMA (EFR) willbe.
introduced to TR45.3.5, PCS 1900 will be introduced to TIA, TDMA half rate has

jn ed al RASC
been introducedto UWEE

£ | 4 PDMRAA } iH p
TOrevaltanolnl OCD iViAA Cle, WHS pursued:

ot

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_ Benefits.of Nokia Proposal. A include codec independent operation with.a.sma Io

modification. There is tolerance to tone frequencies, operation with 2 bit

———————duration andthe detay prevides-protection againsHostframes._Nekia’s-Prepesal

= B provides tolerance to phase change, a reconstructed TTY signal of less than. 2

framés, and detector, encodér, and decoder operating as independently as
pessible—Nokia Propesal C_-conceptlis-ready for TDMA and PCS1900.—Fhis

__proposal does not alter speech codec algorithm and can be used for any other

celtular system. The actuattesting and standards process wilt take many months

and Nokia is-working with the standards bodies.ct Irrenthy.

RAea+t f taal th Cay A 1 kK ol. fy ada
WIVlTOTOTa Pre scrited TIC COONAN VOICS Vase surmuo;rr,

The Motorota-solution says
that the baudot signal should not be handled by the vocoder but in the higher.

: pre-filter and rate selection by a rate determination algorithm occurs to optimize
the frame tate forthe transmission ?¥ tone detectoridentifies the-presence of ——_______—

the unmodulated baudot signal and starts the TTY tone detector. The primary

~ channel goes to null traffic and the secondary channel carries the TTY ~

—_ ———characters._A history is-carried-with each-_character to ensure that-any-character_——_________
that is lost will be recovered with the next character as history. Up to one

hundred character can be-contained in the-secondary channel, all carrying a
sequence number to ensure sequential transmission_and identify any lost —__

characters. When speech is present it inmediately cancels the null traffic signal

~ -te-the-vecoder-and-enables the speech-to-be transmitted: Secondary frame-is

sent once per character. Inter-operating is supported by this solution when

standards provides a standard CDWMIA transport as the default.” This solution ts

wae independent of the vocoder because the vocoder is-either-on-or- off. The-solution

is in the call processing when the service option is determined upon call setup.

or --- TTY. or-voice_call depending.on-how.the-call.is-set-up...This_solution_is_currently

only applicable to CDMA. It is similar to DTMF signaling. This solution would

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Forum

Seeking Solutions to TTY/TDD Through Wireless.

Digital Systems

~—_ TTY/TDD FORUM - 12

September-9,199
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Washington, DC |

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4, REVIEW_& APPROVE TTY FORUM—41 SUMMARY

Contribution #2, an E-mail from Judy Harkins, Gallaudet identified.some

clarifications she would like made to the Summary. She stated that she wanted

ee ~—-~ —-—--to-be-sure that each presenters summary was clear-andrepresented-whatthey  — == —
said. After discussion, presenters agreed that their presentations should remain
unchanged in the summary. The addition of Judy Harkins’ offer to proceed with a_

_____ repeal for standardizing the Baudet signalwhich will-be prepared by Dick —

Brandt, consultant, was made to the New Business section.

____5. TTY_LIAISON REPORTS: FCG, CTIA/PCIA, NAD,-TDI}

Marty_Lieberman,FCC-is looking forward_to-seeing the- manufacturers begin-to

__ implement solutions.
tod Lantor-PCtA-tooks forward to discussion of solutions tobe shared inthe

meeting

Karen Strauss, noted that the FCC held a forum on 7-1-1 services and many -
_____geepte-oitingcaneundthatabier -wereir-attendance—Karen offered more

information to anyone who needs it. The FCC has reserved 7-1-1. as an access

code for Relay Services nationwide.

Furtherinl formation is also available-on-the FCC-web-site at wawECCeowwiE

to the TTY Forum submission_ofan-SRD (Standards Req irements Doc! iment).

__ Published standard (IS-/89) addresses the signaling, interim standard 788

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jack is well understood and the standards bady proposes no standard at this

Ed Hall asked the TTY Forum if, in the reply to the TR45.1 correspondence, a

request for a TSB (Technical Service Bulletin) ts appropriate. Dick Brandt rioted

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oo  Bradas. soon _as possible. _Karen Straus stated that itis. extremely. important to. a

have the information on availability provided to consumers. The co-chair

5 repesed 4 sub-greup chaired by Brad Blanken_be formed to -preducethe

template and link it.on the CTIA website ASAP. Karen Straus would like to. have

nearing aid compatipnity be included.

Todd Lantor, co-chair, asked if the FCC would make their web site available to

provide the information... Tie FCC agreed that the web site could probably be

made available.

7: VOICE BASED SOLUTIONS {Formerly “short term?)

Marty Lieberman,-F CC; stated that the FCC is pleased to see” they progress in OO

CDMA and the work being done it in TDMA but noted that a focus is on the

timeline for development and implementation for the consumer. He asked that

-handset-andinfrastructure-manufacturers-provide theirtheughts-en-atimetable
__ for implementation and provide that to the FCC sometime during the day.

—______---__ Steven Benno, Lucent,presented-Contribution #-16-which included_a real-time

demonstration in duplex. Lucent responded to customer needs, particularly Bell

Attantic Mobite, and has worked toward a solution and providing a cost

The Solution provides an opportunity to send 8-10 repetitions of each character

and 6 WHA @eeHac ay eas fia saacd
al bypassit WY th aa pave ErrCuUe

ie emtiitiaw 1
Tho SUTOOTy TS

applicable across all technologies since all systems use the same encoder. It

réquirés a software upgrade and support HCO/VCO. Standards work was done
——-—_——_quickly-and-feature- release for CDMA is December 15,2000—The transtation-is-———-___—

free and is included in the annual maintenance and software upgrades. TDMA is

a different story since Lucent and Nokia presented solutions in May, then”

Ericsson presented a _solution.in July, Nokia presented a second solutionin

August. A decision should be reached on solution choice in September. The

ow

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Rate) was_under 1% Since the decoder only solution | required.a modification to. — ~~

the decoder in the handset and base station the Lucent solution which provides

8. REVIEW/UPDATE APPENDIX D Test Completion Matrix

Steve Coston, Ericsson, presented Contribution # 12 on Modem Tone Signaling _

and Implementation Considerations. TTY tones are detected at the front-end

and-converted toa digital signal and-then-converted into-a_ higher bitrate to be

transmitted over a voice channel that’s better suited to carrying those signals.

The signaling description.on the landline side is associated with the function of

the switch. Transparent switching between speech and TTY enables HCOWVCO.

Have you considered the cost impact on the handset side? Answer:_I’d like to

hold cost discussions off-line.

Jim Ragsdale, Ericsson, discussed the contribution process for modem signaling.

By quantifying “as good as aralog” the requirement fortadio conditions was

established as CER s/b-<t % over operating range of 14 to 30dB C/N The

typical cell border C/N is in the 16-17 range. These are presented as tougher

requirements tt than those ofas good'a as Sanalog The-solutions are better for

the table for consideration in TR45.3

Ericsson proposes that the solution will be built into the connecting cable

between the phone and TTY device. For new terminals it would be possible to

oa hox The thracs im
SRO F Met er

associated with the switch. Because the function is associated with the switch

POAD

there ts To impact to the PSAP or TTY device. Question: Could you

demonstrate-_this for us-now?_Answer: No,not today._As-of tomorrow we will

have executable code that any TR45 member could test in the switch Question:

10

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Are _you-madifying the. tones through. the vocoder? Answer:_ No, under optimum __ a.

circumstances TTY passes just fine what we are doing is making the signal more

robust {speeding them tp}.Question: WhatHnitiates the process? -Answer-

There are two. question there — 1. Where is the TTY detector? The TTY detector

is monitoring real time the input and when it detects TTY tonés it enacts the

SS cS cee te ia ec
you tested against different vocoders and what were the results? Answer. Could

we hotd off on that for 4 minute?

The biggest challenge to good transfer is fading. By introducing 180Hz fading

4 L, tt tant 2 + pe a4 pay fe} qed al.
tile OMantenige is SITYtl freat it: Questior RO OCG APOONMNT Osea d Vdliabitl Tate VOUCOQET:

—________.____Have you tested on these? Answer: We believe that there won't be a negative

“impact. Comment: Lucent found that it was important to turn off noise

—_---—-suppression andicetock the coderatfullrate—Answer-We-don'tbelieve thatthat——

would be a problem because you would have a TTY tone detector anyway.

~ Question: Is contribution #6 a dead issue since it requires a modification to the ~

T-Y¥-device_ Answer_Yes_ Contribution #13 s1 upercedes contribution-#6.

Benefits to the solution in contribution #13 are listed in the presentation

co document. Question: Who is going tomanufacture the modem box and address

the size of the box — large/small? Answer. The model that we are using _is that

the modem is built into the cable. Question. Is there a box on the cable or is it

en ‘built inte the cable? Answer:-We are proposing that it will-be-built into-the—

connection and will be transparent. Question: Will Ericsson build them?

Answer” Ericsson could build them or outsource them but we see that the cable

-—-~-—- 48 necessary-to-connect-the TTY. device-to the-phone.-Question:. -Is-there-a——_—--

battery required? Answer: We hope that it may be able to be solar powered.

Comment As a consumer tan concemed because we did't want ot have to

have. extra equipment to-buy..Comment: The modem.can-eventually_be built.__..

_into the phone. Comment: Dale Hatfield,FCC, observed that there has to be a

“change to the switch since there has to be some identifier to-mark the beginning ——— —

_.. _of the TTY call. Answer: The coding will be in the subscriber profile. Question: ee

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S . i Dale. Hatfield then Lasked t to. understand the. call. flow when placed from ; a landline. a
Answer. The MSID_ identifies the mobile station as TTY capable and the call will
-be-routed+throughthe funetion. Question Toni Dunn asked iFthe TTY user has—

to o self-identify in 2 ina profile to get tl this. service? Answer. The equipment will vo

identity. Comment” Toni statéd that this could be a barrier ia wireless phone

Answer: The function detects the TTY signal” Question: One of the

Seq urements for ECC is that carriers must carry TTY emergency.calls over un-

_ initialized phones. Under this scenario will these calls provide the solution?

} TTY. 7 J
—An swer: You wit get normal ¥F F ¥ OVC the ait interface = fi: Ge. reyguiar rf SIYTIars

passed with no enhancement Question: You clearly are showing a conversion.

__ Process in the switch so how can you say that there is no impact to the network?
fy

pA}

PAA
. YEO VT

to mobile call).

— Question: Why do we need the identification in the Mobile subscriber profile? ~~~

Aaswer: That's the wav we route the TTY f inction on the landline sida
PATO SI FrHett 3S tte Wey We -Oute Ine + +y¥ Tuncton on inelandine side

_Quesiton: If you profile someone as TTY compatible will there be any negative

~ ~ ~~~ -impacton-voice? Answer: No that’s built into the robutsness of the function.

Question: Cana carrier profile all users as TTY users and would that have any

negative impact? Answer: Yes, but that means that every call is routed through

a ~~ ~your-TTY¥function:-Question: How do calls get routed when they-are-initiated —-

from the landline side? Answer: The switch would route any cail to that MSID

through the TTY function. Comment” Karen Straus noted her concer for un-

~-—- 4nitiated-phones.and-having to-have.a profile because there-are needs under-both _

9-1-1 and 255 access that are concerns to consumers. Answer: There are a

number of implementation opportunities that could be implemented. You could

— — foute.all-9-1=1calls through.the. TTY function..If you-hada-class of mobiles that...

didn't fit in the standard classification then you can assign more than one

4 thy TMZ,

oy 4 fos, 4 ¢l, fy. fa at fey al £
GHCOUOTy MUMMerto Ine sane PHOTOS — Ore TOUted To the Try one routed for

voice. Comment: Ed Hall, co-chair, noted that non-initialized phones area. ee

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____ challenge to all_of the via ble solutions_Comment:.. Judy Harkins, Gallaudet, Spit

notes that the purchasing extra equipment, like extra cabling, is a concern.

_ Doug Neeley, Nokia, presented Contribution #15 describing the Nokia solution.

Nokia introduced two proposals. The first proposal is the Codec ByPass which

—______-_________prevides-comparableresults_to the other manufacturers but adds-amusic

detection feature and ensures HCO/VCO capability but requires hardware (chip)

changes to the handset and the base station —This solution will require-@ cable to —————

———eonnect to. the phone.The second proposal relates to-changing software. Phase
changes have been tested, music detection is available and the solutionis

—— HE B/AV/ES compatible Nokia can flash progranr at 4 retaier_to tipgrade phones-——_---—
Te E Deeompatibie ane no changes tothe cadec 2 are required. Could be

implemented in six months.

The third solution is to make the solution part of the connection cable.

_Question:—This-is-addressed-to-Nokia,Lucent,Ericsson—What have you-done——__— =

about testing? It sound like there is no actual product available.
Answer. We atNokiause TTYs and computers instead of handsets. Ericsson
doesn't think that’s a valuable question because they use a fixed point code to

simulate. Lucent has not used a handset yet because they use a fixed point

‘simutation-and establish the function-as a standard: Only after-a-solutionis~ ~~~

standardized and proven through simulation will we test it in our system. We saw

that live testing was a requirement but nats not necessarily teasible. AS OT

tomorrow-our code-will-be -frezen-and-then-all-the-manufacturers-willtesteach-  -—~- --

other's solutions.
=== rrestion. Difference between solutions? Answer. First we were working with

_-Ericsson-and_used.a-DSP_chip-in.the-cable....-he-second-solution-eliminates-the.......

additional DSP chip and replaces it with software. Question: Steve Benno,

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es ~——-Case-2:08-cv-00094-TSZ-— Document 124:8°-Filed'05/08/2009 a Page 15 of 40°

een BON presented. anywhere but. here... Will everyone. be given.executables. Co

tomorrow for testing? No Answer.

9. DATA SOLUTION (FORMERLY “CONG TERM”)

interworking function resides in the network and currently is available to GSM.

Other air interfaces ‘willbe avaiable shortly- This technology makes text=~

telephone ee possible and has been tested live for more ioe a-year

in Europe. Question: There is nothing manufacturers must do - it is simply

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understand it but we can not speak tothe pricing or business plan

Question:-How does roaming work? Gould you make -a-_reaming call using TF¥2—_—__—_—

Answer: Both demonstrations we have seen live have been using a phone ina

roaming situation and coming from a wireline switch in Sweden. Follow-up:

That's not my point That phone has-to-be ina GSM network? Ordoes itiwork in

1ot-my-point hatpkheneA GSM networ

analog also? Answer: | don’t know the answer but that may be a good point. |

dort know whether the-system operates in analog. Ed Haltand Todd Cantor; co-=

Se eee switches

That means this technology should work over analog. This technology supports

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mailed a colleague in Sweden and was told that it worked very well for TTY in

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Sweden. It currently does not support HCO/VCO. It doés not pass through the

a vibrating pen or vibrating phone to indicate incoming calls.

Ed-Hall CTIA. reported that 3Com-_has just come out with information ona

product that may be very similar to the Telesta product. 3Comm will send

information and-a presentation to the next TFY Forum:----——

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